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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 HESHAM ISMAIL,                                  :
           Plaintiff,                            :          CIVIL ACTION
                                                 :          No. 20-4801
                v.                               :
                                                 :
 IHI POWER SERVICES CORP., et al.                :
            Defendants.                          :



                                            ORDER

       AND NOW, this 21st day of June, 2022, it is ORDERED that, pursuant to matters

discussed in today’s telephone conference, on or before June 28, 2022 Mr. Brian Doyle must

file under seal a copy of the April 1, 2022 email received from Plaintiff.




                                                     ___s/ANITA B. BRODY, J.____
                                                     ANITA B. BRODY, J.




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